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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    STEVEN CHURCH, et al.,

       Plaintiffs,                                      No. 21-cv-2815 (CKK)

           v.

    JOSEPH R. BIDEN, in his official capacity as
    President of the United States, et al.,

       Defendants.


                                     JOINT STATUS REPORT

          The parties respectfully submit this joint status report in compliance with the Court’s order

of November 9, 2021. The parties have conferred and agree that in light of this Court’s order

denying Plaintiffs’ motion for a preliminary injunction, see ECF Nos. 16, 17, Defendants should

respond to the complaint within sixty days of service on the United States Attorney, as provided

for by Federal Rule of Civil Procedure 12(a)(2)—i.e., on January 11, 2022.1 The parties further

agree that briefing on that motion should be governed by the Local Rules of this Court, provided

that either party may seek a reasonable extension of time for good cause shown.

          The parties agree that because Plaintiffs’ motion for a preliminary injunction is no longer

pending, Defendants are not under any continuing obligation to notify the Court in the event that

any specific Plaintiff’s request for a religious exception is denied. Cf. ECF No. 8 (Defendants’

notice, proposing to provide such notice during the pendency of the preliminary injunction

motion). Should any Plaintiff receive notice of such a denial from his employing agency, however,

Plaintiffs reserve the right to seek leave to amend the complaint.



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    The United States Attorney for the District of Columbia was served earlier today.
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Dated: November 12, 2021                  Respectfully submitted,

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